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 6
 7                                 UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   JOHNNY PHONG LE,
                                                                 Case No. 2:16-cv-00039 MCE-AC
11                  Plaintiff,
12                                                               ORDER FOR DISMISSAL
                    v.
13
14   EQUIFAX INFORMATION SERVICES, LLC,
     a Georgia limited liability company,
15
16               Defendant.
     __________________________________________
17
18          Based on the parties’ stipulation and for good cause shown, Plaintiff Johnny Phong Le’s
19   complaint in this matter is hereby dismissed with prejudice, in its entirety, each party to bear its
20   own fees and costs, pursuant to Fed. Rule Civ. Proc. 41(a). The matter having now been
21   concluded, the Clerk of Court is directed to close the file.
22          IT IS SO ORDERED.
23
     Dated: September 11, 2017
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27
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     ORDER FOR DISMISSAL OF EXPERIAN –- LE V EQUIFAX, NO. 2:16-CV-00039 MCE AC

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